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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7
     DONG OK KIM,
 8
                                 Plaintiff,             Case No. C20-5791 RAJ
 9
            v.                                          ORDER AMENDING THE
10                                                      SCHEDULING ORDER
11 COMMISSIONER OF SOCIAL
     SECURITY,
12
                                 Defendant.
13
            Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date
14
     shall be amended as follows: Defendant shall have up to and including November 19,
15 2020, to file a response to Plaintiff’s Complaint, including the certified administrative

16 record. The certified administrative record shall be filed within ten days of its availability
     to the Office of the General Counsel, if it can be filed earlier than the aforementioned
17
     date. If the Commissioner is unable to file the certified administrative record by that date,
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     the Commissioner shall file another motion for extension, every 30 days until the
19 certified administrative record becomes available.

20          DATED this 20th day of October, 2020.

21

22
                                                       A
                                                       The Honorable Richard A. Jones
23
                                                       United States District Judge




     ORDER AMENDING THE SCHEDULING ORDER - 1
